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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TOSHIA CREWS

              Plaintiff,                      Civil Action File No.:
   v.                                         Jury Trial Demanded
ATLANTA HEART
SPECIALISTS, LLC
              Defendant.


                                 COMPLAINT


        Plaintiff, Toshia Crews, (“Plaintiff” or “Crews”) brings this lawsuit against

Defendant, Atlanta Heart Specialists, LLC (“Defendant” or “Atlanta Heart

Specialists”) seeking relief and damages available under law, based on the

following factual allegations and causes of action:


                           NATURE OF THE ACTION


        1.    This case involves Defendant’s failure to comply with laws Congress

passed in 2020 to protect workers during the COVID-19 global pandemic: the

Families First Coronavirus Response Act (“FFCRA”) and its components, the

Emergency Paid Sick Leave Act (“EPSLA”) and the Emergency Family and



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Medical Leave Expansion Act (“EFMLEA”). Pub. L. No. 116-127 (2020).

Defendant violated the FFCRA by refusing to extend leave that Plaintiff was

entitled to receive in order to care for her child, whose school closed due to the

pandemic. Defendant also violated the FFCRA by terminating Ms. Crews in

retaliation for exercising her rights under the COVID leave laws. Lastly,

Defendant violated the FFCRA by interfering with the exercise of Plaintiff’s

federally protected right to take COVID-related leave.


                                 THE PARTIES


      2.     Plaintiff is a citizen of the state of Georgia. During the time of the

events alleged in this Complaint, Crews worked as a billing specialist for Atlanta

Heart Specialists.


      3.     Defendant is a multi-clinic cardiac care provider in the Atlanta

metropolitan area whose principal office address is located at 1468 Montreal Road,

Tucker GA, 30084.


      4.     Atlanta Heart Specialists has less than 500 employees and it engages

in commerce; as such, it is subject to the FFCRA.




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                          JURISDICTION AND VENUE


      5.     This Court has subject matter jurisdiction concerning this civil action

pursuant to 28 U.S.C.A. §§ 1331 and 1343.


      6.     Venue is proper in this district and division under 28 U.S.C.A. § 1391,

as Defendant conducts business in and the alleged unlawful acts occurred in this

district and division.


                          FACTUAL ALLEGATIONS


      7.     In December 2019, Plaintiff Crews was hired as a $17.00/hr. billing

specialist for Atlanta Heart Specialists’ central office in December 2019.


      8.     Crews is a single mother whose daughter at the time of the events

alleged herein was seven, and who was being educated in a Georgia public school.


      9.     On March 18, 2020, due to the surging coronavirus outbreak,

in-person instruction ended at Georgia schools, which remained closed for the

remainder of the 2019-2020 academic year.


      10.    Despite the pandemic, Atlanta Heart Specialists declined to close and

deemed its personnel essential workers, including its billing staff.



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        11.   Like numerous parents in Georgia and around the country who were

deemed essential workers, Crews faced an immediate childcare crisis, which

required her to depend on help from relatives. In Crews’ case, the assistance

proved to be short-lived and would last for no longer than the early part of May,

2020.


        12.   Congress acted with unusual speed to pass legislation to protect

workers who were having to choose between their health and their families’

well-being and their need to earn a living. On March 18, 2020, Congress passed,

and the President of the United States immediately signed a comprehensive law,

the FFCRA, to provide employees rights to both paid and unpaid leave during the

pandemic. The law became effective April 1, 2020.


        13.   The FFCRA was relatively complex and was comprised of two other

new laws, the EPSLA and the EFMLEA. Under the EPSLA, employees were

entitled to two weeks of paid sick leave, up to 80 hours, for missing work related to

COVID, including personal illness as well as the need to care for children whose

schools shut down in-person learning due to the virus.




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      14.    The EFMLEA provided a more extensive leave period of up to 12

weeks for employees who requested time off to care for children whose schools

closed under COVID lockdowns, with the caveat that ten weeks of this leave

period had to be paid at a rate of two-thirds of the employee’s annual pay.


      15.    The FFCRA also created two separate enforcement mechanisms for

workers whose protected leave rights under the FFCRA were violated by their

employers. First, the EPLSA prohibits employees “from discharging, disciplining,

or discriminating against any employee” who exercised her rights to take leave

under the statute. 29 C.F.R. §826.150(a).


      16.    Claims of unlawful retaliation for taking leave under the EPSLA are

governed by the anti-retaliation provisions of the Fair Labor Standards (“FLSA”).

29 U.S.C.A. Section 215(a)(3). See FFCRA, Pub. L. No. 116-127, §1505 (2020).


      17.    The EFMLEA’s enforcement provisions are contained in the

anti-interference provisions of the Family Medical Leave Act. 29 U.S.C.A. §2615.

See 29 C.F.R. §826.51(a).


      18.    Knowing that her short-term childcare remedy was coming to an end,

in early May 2020, Crews informed her supervisors at Atlanta Heart Specialists of



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her issues with childcare and sought guidance as to her options. Crews made it

clear that her preference was to telework rather than to take time off and

specifically asked for a telework accommodation. Crews also asserted that her

reasons for seeking telework were based on childcare.


      19.    On May 5, 2020, the Practice Administrator at Atlanta Heart

Specialists, Chimere Smith, emailed Crews that the company would not

accommodate her telework request. Smith told Crews that as an alternative, she

could take a “leave of absence.”


      20.    Crews had been specifically directed to submit her telework request to

Smith and depended on Smith’s guidance as to her leave related rights. Smith did

not inform Crews of the scope of her rights under the FFCRA or the notice process

that the new law required. In fact, when Crews followed up seeking more guidance

as to what she needed to do to obtain a “leave of absence”, Smith told her that no

paperwork was required and that she did not need to take additional steps.


      21.    By March 25, 2020, the Department of Labor had promulgated a

model notice for employers to display at the workplace regarding the newly

established FFCRA rights and had issued guidance that the notice should also be




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sent by email or direct mail. Upon information and belief, Atlanta Heart Specialists

took none of these steps.


      22.    Crews never received guidance from Smith, or any other personnel at

Atlanta Heart Specialists regarding the duration of her “leave of absence”; whether

she would be paid, and how much she would be paid.


      23.    After beginning her “leave of absence” on or about May 7, 2020,

Crews was issued her next biweekly paycheck, which covered the period May 2 to

May 15, 2020. Instead of receiving a check reflecting the paid sick leave to which

she was lawfully entitled beginning on or about May 7, Crews received a check

that reflected only her unused personal time off since her hiring, a net pay of

$304.82.


      24.    In early June 2020, Crews received COBRA notice that she was about

to be terminated and would need to apply for continued health benefits. Crews

immediately sought clarification as to why she was being terminated despite being

on what she was told by management was a company approved leave of absence.


      25.    The response Crews received was contradictory and factually

incorrect. Crews’ billing manager, Kendra Snorton, mischaracterized Crews’ May



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inquiries about telework as a declaration that Crews would not be returning to

work due to her childcare issues. In fact, Crews had simply asked for guidance as

to her options. Snorton also inquired of Crews if she intended to resign or return to

work, when the COBRA notice had already established that Crews was in the

process of being officially terminated.


      26.    Crews sought on numerous occasions during the next several months

to receive an explanation as to why she had been fired when a company official

directly sanctioned a “leave of absence.” Crews was only told by company

representatives that she was deemed to have resigned, a claim that is factually false

and unsupported by any evidence.


      27.    The FFCRA expired on December 31, 2020, but under guidance from

the Department of Labor, employees may still sue under the two year statute of

limitations for violations occurring between April 1 and December 31, 2020.


                                 COUNT I
                             (FFCRA/EPLSA)
      28.    Plaintiff incorporates by reference all preceding paragraphs of this

complaint.




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      29.    Plaintiff expressly sought a telework accommodation from Defendant

to enable her to care for her child, whose school ceased in-person learning

activities due to the COVID-19 pandemic. Defendant declined to grant the

accommodation.


      30.    Based on her bona fide need for leave to care for a child whose school

closed because of the coronavirus, Plaintiff was lawfully entitled to paid leave for a

period of two weeks, or 80 hours, based upon the provisions of the FFCRA and its

component, the EPSLA.


      31.    Defendant willfully denied Plaintiff paid leave to which she was

lawfully entitled, depriving her of wages.


      32.    Defendant is liable for liquidated damages.


                                 COUNT II
                            (FFCRA/EFMLEA)


      33.    Plaintiff incorporates by reference all preceding paragraphs of this

complaint.




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      34.    Plaintiff expressly sought a telework accommodation from Defendant

to enable her to care for her child, whose school ceased in-person learning

activities due to the COVID-19 pandemic. Defendant declined to grant the

accommodation.


      35.    Based on her bona fide need for leave to care for a child whose school

closed because of the coronavirus, Plaintiff was lawfully entitled to paid and

unpaid leave for a period of up to twelve weeks, with ten mandated weeks of paid

leave at a rate of two-thirds of her usual pay, based upon the provisions of the

FFCRA and its component, the EFMLEA.


      36.    Defendant willfully denied Plaintiff leave to which she was lawfully

entitled, depriving her of wages and benefits.


      37.    Defendant is liable for liquidated damages.


                                 (COUNT III)
                     (FFCRA/EPSLA/FLSA retaliation)


      38.    Plaintiff incorporates by reference all preceding paragraphs of this

complaint.




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      39.    Plaintiff engaged in protected activity under the EPSLA by seeking to

obtain leave for the express purpose of caring for her child whose school was

closed for reasons related to COVID-19.


      40.    Plaintiff was terminated by Defendant in close temporal proximity,

between two weeks and one month, of her engaging in protected activity in

violation of the anti-retaliation enforcement provisions of the EPLSA, contained in

the Fair Labor Standards Act.


      41.    As a result of Defendant’s retaliatory conduct, Plaintiff lost pay and

benefits associated with her employment.


      42.    Defendant is liable for liquidated damages.


                                    COUNT IV
                     (FFCRA/EFMLEA/FMLA/interference)


      43.    Plaintiff incorporates by reference all preceding paragraphs of this

complaint.


      44.    Despite being aware that Plaintiff was lawfully entitled to twelve

weeks of paid and unpaid leave because of her bona fide need to care for a child




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whose school was closed for reasons related to COVID-19, Defendant never

informed Plaintiff of her rights under the FFCRA/EFMLEA, including her right to

request and take leave under said statutes.


      45.    Defendant unlawfully failed to provide Plaintiff twelve weeks of paid

and unpaid leave to which she was lawfully entitled.


      46.    Defendant unlawfully terminated Plaintiff rather than provide her

leave to which she was lawfully entitled.


      47.    Defendant’s actions willfully interfered with the exercise of Plaintiff’s

rights under the EFMLEA and the related enforcement provisions of the Family

Medical Leave Act.


      48.    As a result of Defendant’s interference with her statutorily protected

rights, Plaintiff lost pay and benefits associated with her employment.


      49.    Defendant is liable for liquidated damages.


                           PRAYER FOR RELIEF


      Wherefore, Plaintiff demands a trial by jury and that the following relief be

granted:



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       A.    Back pay and front pay, as well as lost benefits;


      B.     Liquidated damages;


      C.     Attorney’s fees and costs of litigation;


      D.     Pre-judgment and post-judgment interest;


      E.     Other relief deemed appropriate by the Court.


Submitted, this 1st day of July, 2021.


                                               HKM Employment Attorneys LLP


                                               s/Artur Davis
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1
 Artur Davis will promptly file for admission pro hac vice as an attorney of record
in this action this same day. Davis is licensed in the state of Alabama and the
District of Columbia.



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